Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document      Page 1 of 10
Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document      Page 2 of 10
Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document      Page 3 of 10
Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document      Page 4 of 10
Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document      Page 5 of 10
Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document      Page 6 of 10
Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document      Page 7 of 10
Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document      Page 8 of 10
Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document      Page 9 of 10
Case 17-01458-JMM   Doc 79    Filed 12/29/17 Entered 12/29/17 17:01:03   Desc Main
                             Document     Page 10 of 10
